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                  EXHIBIT 2
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1
        UNITED STATES DISTRICT COURT
2       DISTRICT OF CONNECTICUT
3       NOVAFUND ADVISORS, LLC,
4                      Plaintiff,                          No. 3:18-cv-1023
                                                           (MPS)
5            vs.
6       CAPITALA GROUP, LLC,
7                      Defendant.
8
9
10
                       VIRTUAL ZOOM DEPOSITION OF
11                       RICHARD WHEELAHAN, ESQ.
12                          (Taken by Plaintiff)
13                      Charlotte, North Carolina
14                       Tuesday, August 4, 2020
15
16
17
18
19      Reported by Andrea L. Kingsley, RPR
20
21
22
23
24
25

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1              am not authorized to administer an oath.                I am
2              not related to any party in this action nor am
3              I financially interested in the outcome.
4                         Counsel and all present in the room
5              and everyone attending remotely will now state
6              their appearance and affiliation for the
7              record.     If there is any objections to the
8              proceeding, please state them at the time of
9              your appearance beginning with the noticing
10             attorney.
11                           MS. O'TOOLE:         Good morning.      This
12             is Jill O'Toole from Shipman & Goodwin for the
13             plaintiff NovaFund Advisors, LLC.
14                           MR. CORP:       Robert Corp is here on
15             behalf of plaintiffs.           I'm with Shipman &
16             Goodwin.
17                           MS. BAKER:        This is Alison Baker
18             with Shipman & Goodwin.
19                           MR. HOWE:       This is James Howe with
20             NovaFund Advisors.
21                           THE VIDEOGRAPHER:             Please swear in
22             the witness.
23                       RICHARD WHEELAHAN, being duly sworn,
24              was examined and testified as follows:
25      EXAMINATION BY

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1              Q.     Did you have the opportunity during that
2       deposition to read and sign your transcript
3       afterwards?
4              A.     No.
5              Q.     Do you understand that you are under
6       oath today?
7              A.     Yes.
8              Q.     Do you understand that to mean you must
9       tell the truth?
10             A.     Yes.
11             Q.     Could you briefly describe your
12      educational background?
13             A.     I have a BA in political science and a
14      BA in Russian from Appalachian State University and
15      then a JD from the University of North Carolina
16      School of Law.
17             Q.     How long did you work at Capitala?
18             A.     From April 2010 until October 7, 2018.
19             Q.     Did you leave Capitala effective October
20      8, 2019?
21                           THE REPORTER:          Hold on.     I'm
22             hearing a lot of interference.
23                           THE VIDEOGRAPHER:             There's some
24             feedback on the line.
25                           (Discussion off the record.)

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1              Q.     Mr. Wheelahan, did you leave Capitala
2       effective October 8, 2019?
3              A.     Yes.
4              Q.     Is it your understanding Capitala is
5       aware you're testifying today?
6              A.     Yes.
7              Q.     How do you know that?
8              A.     The fact that I'm testifying in this
9       deposition came up in open court in Mecklenburg
10      County a week and a half ago.
11             Q.     What matter were you involved in that
12      took place in court about a week and a half ago?
13             A.     It is a civil complaint that Capitala
14      filed against me personally regarding allegations
15      that I violated my non-disparagement agreement with
16      the firm when I left.
17             Q.     Do I understand correctly then there was
18      a proceeding in that other state court matter and
19      during the course of that court hearing the fact of
20      this deposition came up?
21             A.     Yes.
22             Q.     I would like to go through with you a
23      few positions you held at Capitala.                Just starting
24      with the basics.       What was the name of the Capitala
25      entity that was your employer?

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1                              THE VIDEOGRAPHER:            We are now on
2              the record.       The time is 10:25 a.m.            back from
3              break.
4              Q.       Mr. Wheelahan, we have shown you what
5       has been marked as Plaintiff's Exhibit 1.                   Do you
6       see that?
7              A.       Yes.
8              Q.       Do you recognize that?
9              A.       Yes.
10             Q.       What is it?
11             A.       The affidavit of Joe Alala in support of
12      his complaint filed against me in Mecklenburg
13      County.
14             Q.       In the state court action that you were
15      referencing?
16             A.       Correct.
17             Q.       Who is Mr. Joseph Alala?
18             A.       He is the founder and CEO of Capitala
19      Group.
20             Q.       May I have you please turn to paragraph
21      9 of the affidavit.         Sorry.        Let's start first with
22      looking at page 9 of the affidavit which should be
23      the signature page.
24                      Do you recognize that signature?
25             A.       Yes.

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1              Q.     Who's signature is it?
2              A.     Joe Alala's.
3              Q.     How is it that you recognize the
4       signature?
5              A.     I've seen his signature on documents
6       over the course of the last 10 years.
7              Q.     Is it fair to say that you have seen
8       Mr. Alala's signature hundreds of times?
9              A.     Yes.
10             Q.     And that you feel comfortable
11      recognizing his signature?
12             A.     Yes.
13             Q.     Was this affidavit served on you in
14      connection with the North Carolina state court
15      action?
16             A.     It was not served.            I received an e-mail
17      from Robinson Bradshaw & Hinson, counsel to
18      Capitala in the action.
19             Q.     Does that e-mail include the affidavit?
20             A.     Yes.
21             Q.     Let me have you look at paragraph 4
22      please.     It states, "That Capitala Advisors Corp.
23      employs the individual who provides services for the
24      various Capitala entities."              Do you see that?
25             A.     Yes.

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1              Q.     Do you agree with that statement?
2              A.     Yes.
3              Q.     Was there any other Capitala entity that
4       was served as the employer for the individuals that
5       provided services to the Capitala entities?
6              A.     No.    Not as the employer.
7              Q.     In paragraph 5 it states that, "Capitala
8       Finance Corp., CPTA, is a publicly traded business
9       development company with its common stock and
10      certain bonds listed and traded publicly on the
11      NASDAQ."
12                    Do you see that?
13             A.     Yes.
14             Q.     Do you agree with that statement?
15             A.     Yes.
16             Q.     What is a business development company?
17             A.     It is a regulated investment company
18      that doesn't incur federal income tax by statutory
19      creation.
20             Q.     What does it mean for a BDC to be
21      publicly traded?
22             A.     It means that the equity interest in the
23      BDC are freely transferrable in that they are
24      traded on a public stock exchange so any investor
25      can buy and sell shares.

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1              A.     Yes.
2              Q.     What is CIA?
3              A.     Capitala Investment Advisors, LLC, a
4       registered investment advisor.
5              Q.     In the affidavit, paragraph 8, it also
6       states that in 2015, you, "Became the general
7       counsel as well as chief compliance officer to
8       Capitala."     Do you see that?
9              A.     I do see that.
10             Q.     Do you agree with that statement?
11             A.     No.
12             Q.     Why not?
13             A.     I was appointed chief compliance officer
14      of Capitala Investment Advisors and Capitala
15      Finance Corp. in August of 2013, and in 2015 it was
16      when I became general counsel of Capitala
17      Investment Advisors.
18             Q.     In paragraph 9 it states that you served
19      as, "General counsel and chief compliance officer to
20      all of the Capitala entities including CTPA."
21                    Do you see that?
22             A.     Yes.
23             Q.     Do you believe that's a typo, it should
24      be CPTA?
25             A.     I do.

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1               Q.    Do you agree with that statement?
2               A.    No.    I was not the general counsel of
3       CPTA.
4               Q.    Was there any other entity for which you
5       were not a lawyer that was affiliated with Capitala?
6               A.    Yes.    Many.
7               Q.    So let's try this the other way around.
8       What were the entities for which you served as a
9       lawyer?
10              A.    Capitala Investment Advisors, LLC and
11      Capitala private Advisors, LLC.
12              Q.    Is it fair to say that it's your
13      testimony those are the only two Capitala entities
14      for which you served as a lawyer?
15              A.    That is my understanding, yes.
16              Q.    Were you ever a lawyer for Capitala
17      Group, LLC?
18              A.    No.
19              Q.    Is it fair to say that in the time
20      period between 2010 and 2015, you did not serve in a
21      legal capacity for Capitala?
22              A.    I think that's accurate.              I think -- I
23      agree with that statement.
24              Q.    Let me try it a different way which is:
25      Do you know the first time you became a lawyer for

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1       any of the Capitala entities?
2              A.     It was the morning in 2015 in which I
3       woke up to an e-mail telling me I was the general
4       counsel of the investment advisors or investment
5       advisor.
6              Q.     Today I want to keep in mind the fact
7       that at some point in time during your tenure with
8       Capitala, you served in a legal capacity.                So in
9       that respect, you were privy to certain
10      attorney/client privileged information during the
11      course of your employment.              It's not my intention
12      today to inquire about attorney/client privileged
13      information.      So if I ask a question and you think
14      that the answer would call for the disclosure of
15      privileged information, please let me know I will
16      ask you just to limit your answer to the
17      non-privileged information.               Okay?
18             A.     Okay.
19             Q.     So for purposes of today's deposition, I
20      would like to use Capitala as a shorthand when
21      referring to all of the entities and investment
22      vehicles that are affiliated with Capitala in the
23      broadest sense; is that okay?
24             A.     Yes.
25             Q.     And then if I want to ask you a question

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1       about one of the specific Capitala entities or
2       investment vehicles, I will refer to those by their
3       specific name; okay?
4              A.     Okay.
5              Q.     Super.
6                     Are you familiar with a Capitala entity
7       that is Capitala Group, LLC?
8              A.     Yes.
9              Q.     Do you understand that that is the named
10      defendant in the action that's the subject of this
11      deposition?
12             A.     Yes.
13             Q.     What is Capitala Group, LLC?
14             A.     It is an entity that was the signatory
15      to term sheets, non-disclosure agreements, things
16      that were thought of as not substantive or
17      preliminary in a sense.
18             Q.     What do you mean by that?
19             A.     It was a relatively meaningless entity.
20             Q.     How so?
21             A.     No assets, no operations, no real
22      structure.
23             Q.     We'll come back to that in a little bit.
24      Let me have you look at what we will mark as
25      Plaintiff's Exhibit 2 which is the term sheet.

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1       fund or executive of Capitala or any of their
2       respective officers, directors and employees and any
3       such officers, directors or employees immediate
4       family members (and any investment vehicles
5       controlled by or established primarily for the
6       benefit of any such officer, director, employee
7       and/or his or her immediate family members) or if or
8       their own accounts?
9                     Do you see that?
10             A.     Yes.
11             Q.     Did I read that correctly?
12             A.     Yes.
13             Q.     Is that known as an exception for family
14      and friends?
15             A.     Yes.
16             Q.     Can you give an example of that?
17             A.     A trust that was established and settled
18      for the benefit of Joe Alala would be carved out.
19             Q.     Meaning that NovaFund could not earn a
20      fee if that trust that was established for Mr. Alala
21      contributed capital to Fund V or an SMA?
22             A.     Correct.
23             Q.     The general partner, the term general
24      partner is capitalized in the term sheet but it's
25      not defined.      Who is the general partner of Fund V?

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1              A.     Capitala PCF-V, LLC.
2              Q.     And the term manager is a capitalized
3       term in the term sheet but it's not defined.                 What
4       was your understanding of Fund V's manager at the
5       time the term sheet was executed?
6              A.     Either Capitala -- I'm sorry, either CIA
7       or CPA.     Eventually it was CPA, but at the time it
8       may have been CIA.
9              Q.     Why do you say that?
10             A.     Because we'd formed a second investment
11      advisor that we registered with the SEC in order to
12      advise the private funds as opposed to the BDC.
13             Q.     Is it okay with you today that sometimes
14      we'll refer to Capitala Private Advisors, LLC as
15      CPA?
16             A.     Yes.
17             Q.     Is it also all right if we refer to
18      Capitala Investment Advisors as CIA?
19             A.     Yes.
20             Q.     Do you know approximately when CPA was
21      formed?
22             A.     Unfortunately, I don't recall, but it's
23      public, it's available from the SEC's website.
24             Q.     At the time that you were negotiating
25      the term sheet with NovaFund, did you ever tell them

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1              Q.      Mr. Wheelahan, did you attend a hearing
2       in this lawsuit before Judge Shea on Novafund's
3       application for a prejudgment remedy?
4              A.      Yes.
5              Q.      That was held on March 28, 2019?
6              A.      Yes.
7              Q.      Did you attend in person in Hartford,
8       Connecticut?
9              A.      Yes.
10             Q.      Were you present during the direct and
11      cross-examination of Mr. Alala?
12             A.      Yes.
13             Q.      I would like to show you what we will
14      mark as Plaintiff's Exhibit 3 which is the
15      prejudgment remedy hearing transcript.
16                             (Plaintiff's Exhibit 3, PJR
17             transcript, marked for identification, as of
18             this date.)
19             Q.      Do you see that on your screen?
20             A.      Yes.
21             Q.      It is also -- we also sent it to you in
22      a paper format.         It's behind tab 43.
23             A.      Okay.
24             Q.      Did you ever have a chance to read the
25      transcript of the proceeding before Judge Shea on

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1       the PJR application?
2                               THE REPORTER:         Did you move your
3               microphone, Ms. O'Toole?              You seem farther
4               away.
5                               MS. O'TOOLE:        I can't actually hear
6               Madam Court Reporter or Mr. Wheelahan.
7                               THE VIDEOGRAPHER:            Stand by.     We
8               are now off the record.             The time is
9               a.m. for break.
10                        (Recess taken.)
11                              THE VIDEOGRAPHER:            Back on the
12              record.       The time is 11:41 a.m. from break.
13              Q.      Mr. Wheelahan, did you ever read the
14      transcript of the PJR hearing?
15              A.      No.
16              Q.      Let me have you turn to the transcript
17      at page 179.          Again, I believe you also have this in
18      paper form, tab 43.          Do you see line 6 to 8 it
19      states, "Question:          Focusing on Firm 1, did Firm 1
20      ever agree to invest in Fund V?                  Answer:    They did
21      not."
22                      Do you see that?
23              A.      Yes.
24              Q.      Did I read that correctly?
25              A.      Yes.

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1              Q.     During the PJR hearing, did the parties
2       refer to StepStone Group as firm 1?
3              A.     Yes.
4              Q.     The transcript at pages 9 to 11,
5       "Question:      Did they ever agree to invest in an SMA
6       associated with Fund V?            Answer:          They did not."
7                     Do you see that?
8              A.     I do.
9              Q.     Do you agree with that testimony?
10             A.     Not -- I don't really agree with it but
11      I understand technically why it may have been
12      answered that way.
13             Q.     Why is it that you don't really agree
14      with it?
15             A.     Because they did in fact invest in an
16      SMA that was formed after they declined to invest
17      in Fund V that had a substantially similar
18      investment strategy to that of Fund V.
19             Q.     When you say "they," you're referring to
20      StepStone?
21             A.     Yes.
22             Q.     Let me have you turn to the transcript
23      at page 221.      Are you there, Mr. Wheelahan?
24             A.     Yes.
25             Q.     At line 13 to 16, "Question:                 Have you

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1       ever done this type of -- have you ever done a
2       separately managed account with Firm 1 before?
3       Answer:     With Firm 1, no.          Well, we don't have a
4       separately managed account with Firm 1."
5                     Do you see that?
6              A.     Yes.
7              Q.     Did I read that correctly?
8              A.     Yes.
9              Q.     Do you agree with that testimony?
10             A.     No.
11             Q.     Why not?
12             A.     Capitala absolutely has an SMA with Firm
13      1.
14             Q.     Meaning Capitala has a separately
15      managed account with StepStone?
16             A.     Two of them.
17             Q.     Continuing on page 21, starting at line
18      19, "Question:       Before this, before, you know, April
19      of 2018, it's your testimony that Capitala had never
20      done an SMA with Firm 1; correct?                   Answer:
21      Continues to be my testimony, we have not done an
22      SMA with Firm 1."
23                    Do you see that?
24             A.     Yes.
25             Q.     Do you agree that after April of -- do

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1       you agree with his testimony?
2              A.     No.
3              Q.     Why is that?
4              A.     Because they have done an SMA with Firm
5       1 being StepStone.
6              Q.     And, in fact, StepStone formed two SMAs
7       with Capitala after March of 2018; correct?
8              A.     Correct.
9              Q.     And do you agree that the two StepStone
10      SMAs were established in connection with the process
11      of raising capital for Fund V?
12             A.     Yes.
13             Q.     StepStone required Capitala to answer
14      certain due diligence questions and to complete a
15      due diligence questionnaire; correct?
16             A.     Yes.
17             Q.     Do you recall of those -- if Capitala
18      submitted the answers to those due diligence
19      questions on or about October 6, '17?
20             A.     Yes, that's right.
21             Q.     Do you recall if those due diligence
22      questions were submitted on a format that was in
23      reference to Fund V?
24             A.     I don't recall.
25             Q.     Let me show you what we will mark as

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1       company at the same time on the same terms.
2              Q.     Did that actually happen?
3              A.     I believe so.         I'm a little stale but I
4       believe so.
5              Q.     We were talking a little bit before
6       break about the formation of Capitala Specialty
7       Lending Corp., CSLC.          What was its purpose?
8              A.     It's purpose was twofold.             It was to
9       receive the fee income that Capitala was entitled
10      to under the investment advisory agreements.                 And
11      also as a marketing identifier or d/b/a for the
12      SMAs that had a nice ring to it, that could be used
13      to project the new capitalization of Capitala
14      without identifying the investor.
15             Q.     Aside from those two things, did it have
16      any business purpose?
17             A.     No.
18             Q.     Did it have any investors of its own?
19             A.     Every entity has an equity holder but
20      there were no strategic investors, if you will, in
21      the entity.
22             Q.     Who was the equity owner of CSLC?
23             A.     I don't know who that was ultimately.
24             Q.     But it's fair to say there were no
25      investors outside of Capitala that invested in CSLC?

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1              A.     That's my understanding.
2              Q.     Did CSLC have any funds coming into it
3       aside from the fee income that you described as
4       being coming through from the IAAs?
5              A.     No, I'm not aware of any.
6              Q.     In other words, did CSLC have any other
7       source of funds?
8              A.     Well, the sources of funds were the
9       portfolio companies that were procuring credit and
10      from the SMAs themselves pursuant to their
11      management fee agreement or management fee payment.
12      But both of those incoming cash flows were given to
13      CSLC by operation of the investment advisory
14      agreements.
15             Q.     What do you mean the portfolio companies
16      procuring credit?
17             A.     If you look at the advisory agreement,
18      it talks about instead of fee payment which is
19      carrying interest down the road, it talks about
20      management fee which is some number of basis points
21      on deployed capital.          And then it talks about the
22      closing fees.       So it says something along the lines
23      of Capitala's entitled to up to 100 -- it's
24      entitled to management -- closing fee income on new
25      loans to the extent that such closing fees exceed

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1       just -- because they see a shiny object, then it's
2       very difficult to have a successful mandate.
3              Q.     Was it your personal opinion that that
4       was happening while NovaFund was engaged as the
5       placement agent?
6              A.     Yes.
7              Q.     By Capitala?
8              A.     Yes.
9              Q.     What information was conveyed by
10      Capitala to StepStone about the success fee that
11      might be due and payable to NovaFund after the press
12      release of April 2018?
13             A.     That there would be no success fee
14      payable.
15             Q.     Was any reason given for that?
16             A.     To StepStone by Capitala?
17             Q.     Yes.
18             A.     Generally speaking, it was -- surrounded
19      the fact that the term sheet was purportedly not a
20      valid contract, that Capitala would likely have
21      claims against Nova related to conflict of interest
22      in representing Deerpath and Capitala in the same
23      kind of strategy, and that they just didn't think
24      that -- and that NovaFund didn't have the
25      intestinal fortitude to prosecute a full civil

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1       action in order to attempt to recover a success
2       fee.
3               Q.       In your personal capacity, did you agree
4       with those statements?
5               A.       No.   I'm a lawyer so I'm aware of what
6       an enforceable contract is.               I didn't have any
7       insight into Nova's willingness to prosecute a
8       civil claim so I had no opinion on that at the
9       time.        And I disagreed with the balance of those
10      statements.
11              Q.       Why is that?
12              A.       Because of my personal knowledge at that
13      time.
14              Q.       Do you believe that the contract between
15      NovaFund and Capitala was enforceable from
16      Capitala's perspective?
17              A.       I believe the term sheet and addendum
18      are enforceable contracts.
19              Q.       Where did the idea that NovaFund lacked
20      fortitude come from?
21              A.       That it's not a capitalized type of
22      institution, it's not a -- doesn't have balance
23      sheet -- not seen to be backed by institutional
24      investors and that Capitala knows as well as any
25      other firm how expensive protracted litigation can

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1              A.     Yes.
2              Q.     I believe there's a portion of it that
3       says, "In our calculations, the targeted amount over
4       3 years amounts to 600 million out of which 450
5       million and 150 million relates to the treaty and
6       offshore platform respectively."
7                     What did you understand that to mean at
8       the time?
9              A.     That we would be investing $200 million
10      per year out of the SMAs.
11             Q.     I would like to talk for a minute about
12      what the -- let me round this out on that particular
13      e-mail.
14                    Was that consistent with your
15      understanding then at the time?
16             A.     Yes.
17             Q.     Can you describe -- you did this to some
18      degree.     We started talking about the fees that were
19      earned in connection with the StepStone SMAs and I
20      believe you said that there were closing fees; is
21      that correct?
22             A.     Yes.
23             Q.     Management fees?
24             A.     Yes.
25             Q.     And incentive fees; is that correct?

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1              A.     Yes.
2              Q.     Were there any other types of fees that
3       can be earned by any Capitala entity in connection
4       with that StepStone SMA?
5              A.     Not at the time I left, no.
6              Q.     Can you describe how the closing fees
7       worked?
8              A.     So if you're making a loan to a
9       portfolio company, the portfolio company, Capitala
10      in that case, would typically pay in the form of a
11      closing fee 2 percent of the amount of the loan in
12      a fee to Capitala.        That fee was ordinarily
13      allocated by fund.        So if CPTA made a $10 million
14      loan, it would get a 200,000 closing fee; if the
15      SMA made $10 million of the same loan, it would get
16      a $200,000 closing fee.            However, by the operation
17      of the investment advisory agreement, Capitala
18      Specialty Lending Corp. would keep half of that SMA
19      portion of the closing fee.               So if it was a 200
20      basis point closing fee, 100 basis points would go
21      to CSLC and 100 basis points would go to the SMA
22      upfront as income to the SMA.
23             Q.     Did Capitala track how much it was
24      earning in closing fees?
25             A.     I know that Joe did, yes.

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1              Q.     Did you ever see any spreadsheets that
2       tracks the amount of closing fees that Capitala
3       earned?
4              A.     I don't recall seeing a spreadsheet
5       other than one that I would have done myself and
6       kept on my desktop just because it was the only way
7       we were going to make any money.
8              Q.     With respect to the management fees, how
9       did that work?
10             A.     It was either 55 or 60 basis points per
11      year in respect of deployed capital of the SMAs.
12      So you earned your management fee which was 55 or
13      60 BPs as you invested money in the SMAs.
14             Q.     Which Capitala entity was receiving the
15      management fee?
16             A.     Either Capitala Private Advisors or
17      CSLC, I don't recall which one.
18             Q.     Can you describe the incentive fees and
19      how that worked?
20             A.     That's complicated.              Generally the
21      incentive fee, and it's true here, was an
22      additional fee that Capitala could earn based on
23      investment performance.            If the total return of the
24      portfolio was better than 15 percent per year,
25      Capitala captured I think 20 percent of that excess

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1       it's been displaced since then.
2              Q.     Is it your understanding if there were
3       an invoice for the payment of a management fee, that
4       the Capitala entity issuing the invoice would be the
5       entity that received the management fee?
6              A.     I wouldn't bank on that.              I mean, we
7       could have issued an invoice from any entity on
8       behalf of the recipient.            There wasn't a whole lot
9       of attention paid to formality of entities as you
10      have learned in this entire litigation.
11             Q.     So it's possible that if an invoice were
12      issued by Capitala Private Advisors the money for
13      the management fees could have gone to CSLC, you
14      just don't know one way or the other?
15             A.     Exactly.
16             Q.     To the best your recollection, the
17      closing fees were actually paid to CSLC?
18             A.     Yes.
19             Q.     My apologies if I asked you this.              Do
20      you know how much in total Capitala received in
21      closing fees in connection with the StepStone SMAs
22      by the time you left in October of 2019?
23             A.     Unfortunately, I don't remember.
24             Q.     If StepStone had -- if the StepStone
25      SMAs had made at least 145.7 million in loans by May

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1       of 2019, does that also mean that by that date
2       Capitala would have been entitled to about 1.45
3       million in closing fees?
4              A.     Assuming that they were all basis point
5       upfront fees which they typically were, that's
6       correct.
7              Q.     Do you know if CSLC -- switching gears
8       from the StepStone SMAs over to Fund V.                Did any of
9       the Capitala entities earn fees in connection with
10      Fund V?
11             A.     Yes.    Capitala Private Advisors earned a
12      one and a half percent management fee on deployed
13      capital and it is entitled to incentive fee payment
14      if they exceed their hurdle.
15             Q.     What does that mean, entitled to an
16      incentive fee if they exceed their hurdle?
17             A.     If the return is over 20 percent at the
18      end of the fund -- I'm sorry, if the fund returns
19      over 8 percent to the investors, Capitala -- the GP
20      gets 20 percent of the profits.
21             Q.     If we can -- I believe Plaintiff's
22      Exhibit 7 is still up on the screen.                With respect
23      to the incentive fee for StepStone SMAs, this says,
24      "8 hurdle with 25 percent carry."
25                    Do you see that?

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1       so that the carry doesn't knock the investor back
2       down.
3               Q.    Just switching gears back to Fund V
4       then, you talked about a fee that would go to CPA.
5       Did any other Capitala entity earn fees in
6       connection with Fund V?
7               A.    Yes.    The general partner is entitled to
8       carry interest or incentive fee of 20 percent over
9       8.
10              Q.    I am getting an emergency alert that
11      there is a tornado warning in this area until 3:45.
12      I was wondering if we should take a break for a bit
13      or if we can just --
14                           THE VIDEOGRAPHER:              Would you like
15              to go off the record?
16                           MS. O'TOOLE:          Let's go off the
17              record a bit.
18                           THE VIDEOGRAPHER:              We're now off
19              the record the time is 3:02 p.m. for break.
20                      (Recess taken.)
21                           THE VIDEOGRAPHER:              We are now on
22              the record, the time is 4:32 p.m.
23              Q.    Bear with me for one minute.
24                    (Pause in proceedings.)
25              Q.    We are having some electrical issues

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1       apparently because of the storm that came through so
2       please bear with me.          We do not have, apparently,
3       internet access.
4                     I think before we took a break, we were
5       talking about some of the fees that may have been
6       due to some of the Capitala entities.               I would like
7       to switch gears and just ask a couple questions
8       about fees that would be due to the placement agent.
9                     Mr. Wheelahan, do you agree that based
10      on the amounts that were invested by StepStone into
11      the two SMAs, that NovaFund is entitled to fees
12      under the term sheet?
13              A.    Yes.
14              Q.    And if we look back at the CSLC
15      spreadsheet which was Plaintiff's Exhibit 14, that
16      was the spreadsheet that showed there was about
17      145.7 million in loans made by the StepStone SMAs as
18      of about May 15, 2019.           Do you recall that
19      spreadsheet?
20              A.    Yes, I do.
21              Q.    Based on that amount, do you agree that
22      NovaFund is due a success fee between 1 to 1 and a
23      half percent of that 145.7 million as of mid May
24      2019?
25              A.    Yes.

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1       tab 8 of your material and it should have a cover
2       e-mail from Jennifer Gentry with a G dated September
3       22, 2016 bearing Bates stamp CAP 007088.                  Do you see
4       that?
5               A.    I do.
6               Q.    Do you recognize the document that is
7       attached to that cover e-mail?
8               A.    Yes.
9               Q.    What is that?
10              A.    That's the PPM for Fund V.
11              Q.    Is that also known as the private
12      placement memorandum?
13              A.    Yes.
14              Q.    Did you help prepare this?
15              A.    I did.
16              Q.    On page 1 of the PPM which should be on
17      the page bearing Bates stamp 7095.                  At the very
18      bottom it says, "Attractive track record."
19                    Do you see that?
20              A.    I do.
21              Q.    And it says, "Since 1998, Capitala
22      Private Advisors, LLC, and its affiliates and
23      related entities collectively Capitala," and then it
24      continues.
25                    Do you see that?

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1              A.     Yes.
2              Q.     Do you agree that they are defined
3       collectively as Capitala?
4              A.     Yes.
5              Q.     In your experience, was it common to
6       collectively refer to various Capitala entities as
7       just Capitala or Capitala Group?
8              A.     Yes.
9              Q.     Were they often referred to collectively
10      as Capitala group?
11             A.     They were sometimes.              When I formed the
12      Capitala Group label with the SEC in 2016, I think
13      it was, the intent was to have a brand name for the
14      asset management platform or the advisors as
15      opposed to funds, but often times people conflated
16      the concept with a broad label.
17             Q.     What do you mean that you formed the
18      Capitala Group label with the SEC in 2016?
19             A.     In the form ADD for Capitala Investment
20      Advisors and the form ADD for the Capitala Private
21      Advisors, I collectively refer to two advisors as
22      Capitala Group period.           Like a d/b/a.
23             Q.     Why did you do that?
24             A.     Because it was a mouthful.              Because
25      people would refer to the investment investor or

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1       investment investors, and sometimes they referred
2       to Capitala Investment Advisors and they would use
3       the wrong label for the right advisor and it just
4       came up with a d/b/a that kept people from making
5       that mistake.
6              Q.     Did you have to do something to
7       officially register Capitala Group with the SEC?
8              A.     No.    It's by designating that other
9       business name, it effected that.
10             Q.     Was it the case that you helped prepare
11      the form ADDs during your tenure at Capitala?
12             A.     Yes.
13             Q.     Let me have you take a look at one other
14      thing as a housekeeping matter.                 If we could mark as
15      Plaintiff's Exhibit 19 the LP agreement.                 And this
16      bears Bates stamp number starting with Kemper 00008.
17                           (Plaintiff's Exhibit 19, LP
18             Agreement, Kemper 00008, marked for
19             identification, as of this date.)
20             Q.     Mr. Wheelahan, this is behind tab 8 of
21      your materials.       Just let me know when you have that
22      in front of you.
23             A.     I already pulled it out at some point.
24      What is it again?        Describe it.
25             Q.     It is Amended and Restated Agreement of

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1       the Limited Partnership of Fund V.
2              A.     Got it.
3              Q.     Do you have that in front of you?
4              A.     I do.
5              Q.     Do you recognize this?
6              A.     I do.
7              Q.     What is this?
8              A.     This is the Amended and Restated
9       Agreement of Limited Partnership for the Private
10      Credit Fund V as of that date prior to a subsequent
11      amendment of the LPA.
12             Q.     Did this happen to be the LP agreement
13      with the Kemper entity?
14             A.     Yes.    And with Hamilton Lane advisory
15      clients.
16             Q.     I would like to ask you a question if
17      you may turn to Exhibit A.
18             A.     Okay.
19             Q.     Which should be on page Kemper 89.
20             A.     Got it.
21             Q.     Do you recognize this document?
22             A.     I do.
23             Q.     What is this?
24             A.     It's the investment allocation policy
25      for Capitala Group.

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1               Q.       So is this -- is it the same investment
2       allocation policy for CIA and CPA?
3               A.       Yes.
4               Q.       I would like to direct your attention to
5       footnote 1.        It says, "From time to time, the
6       advisors may sponsor and manage one or more
7       separately managed accounts ("SMAs") in addition to
8       the BDC, CTCF and Fund IV."               Do you see that?
9               A.       Yes.
10              Q.       Was this an accurate statement at the
11      time that this policy was in effect?
12              A.       Yes.
13              Q.       Do you think that -- was it your
14      understanding that the Fund V investors knew that
15      separately managed accounts could be set up in
16      connection with Fund V?
17              A.       Yes.
18              Q.       There is a section in this policy,
19      number 3, on allocations involving SMAs.                Do you see
20      that?        It's on page Kemper 94.
21              A.       I do.
22              Q.       Did you draft that section?
23              A.       I drafted the whole thing.
24              Q.       Did you intend for it to be truthful and
25      accurate in statements you were making in this

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1              Q.     At the time Capitala signed the term
2       sheet, what was your understanding of how the
3       exclusivity provisions worked?
4              A.     That they were our exclusive placement
5       agent in respect of the target investors which is
6       basically credible investors.
7              Q.     Meaning -- how did you understand
8       exclusivity to run?
9              A.     That they were our only placement agent.
10             Q.     After the meeting that you had with
11      Mr. McAndrews in March 2017, the parties amended the
12      term sheet; correct?
13             A.     Yes.
14             Q.     I would like to show you what we will
15      mark as Plaintiff's Exhibit 25.                 This is in your
16      materials as tab 14.          This is an e-mail from you to
17      Mr. McAndrews dated April 24, 2017.                 It starts with
18      Bates number NS 008730.
19                            (Plaintiff's Exhibit 25, e-mail
20             dated April 24, 2017, NS 008730, marked for
21             identification, as of this date.)
22             A.     Got it.
23             Q.     Do you recognize Plaintiff's Exhibit 25?
24             A.     I do.
25             Q.     What is this?

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1               A.     It's the addendum meant to modify the
2       term sheet based on the language of the addendum.
3               Q.     Who drafted this addendum on Capitala's
4       part?
5               A.     Me.
6               Q.     Who negotiated it?
7               A.     I negotiated it with Mark and at the
8       instruction and guidance of Alala.
9               Q.     Which Capitala entity was the
10      counterparty to this addendum?
11              A.     There's no entity specified, but if you
12      notice the top, it purports to be between Capitala
13      Group and NovaFund Advisors.                 We never knew what
14      entity NovaFund Advisors was, but Capitala Group,
15      LLC is an entity, that's not specifying it,
16      Capitala Group in the form -- if you look at the
17      SEC filings, in the form ADD, is meant to describe
18      Capitala Investment Advisor, LLC, and Private
19      Advisors, LLC, but it purports to amend the term
20      sheet which was entered into by I think Capitala
21      Group, LLC and NovaFund Advisors.
22              Q.     In the first paragraph it refers to --
23      it says, "Nova agrees that Capitala is free to
24      retain placement agents focused on non-North
25      American limited partners."                Do you see that?

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1              A.     Yes.
2              Q.     Who was the Capitala in that paragraph?
3              A.     It was purposefully not specific.
4              Q.     What do you mean?
5              A.     It was purposefully not specific.              Like,
6       you know --
7              Q.     It could have referred to other Capitala
8       entities?
9              A.     Yes.
10             Q.     Including CPA?
11             A.     That's a very reasonable interpretation.
12             Q.     Could it also have included CIA?
13             A.     Yes.
14             Q.     Do you agree that in the addendum
15      NovaFund gave up some of its exclusivity rights and
16      that Capitala was allowed to retain another
17      placement agent?
18             A.     Yes.
19             Q.     Is it also the case that the other
20      placement agent could only be retained for a
21      specific geographic area?
22             A.     Yes.
23             Q.     At some point in time did you have the
24      understanding that NovaFund was -- had the right to
25      be retained by other investment managers even while

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1              A.     Capitala Group, LLC?              Or Capitala
2       Group --
3              Q.     Either.
4              A.     Capitala Group described the investment
5       advisors, one of which is the PA, which is the
6       investment advisor to Fund V.                Capitala Group, LLC,
7       is a -- essentially a do nothing entity that is
8       under common control with CPA by virtue of Joe's
9       control.
10             Q.     I will have you turn back to the term
11      sheet which is PX 2 which is under tab 6 of your
12      materials.      It says that NovaFund is supposed to
13      begin advisory group immediately with Capitala
14      Group, LLC, which has been defined as Capitala.                     So
15      was it supposed to work with essentially a do
16      nothing entity or was it supposed to work with other
17      Capitala entities to raise capital to raise capital
18      for Fund V?
19             A.     It was certainly working with legitimate
20      operating entities in order to accomplish the Fund
21      V work.
22             Q.     Among those entities, NovaFund had to
23      work with CPA; correct?
24             A.     Absolutely.
25             Q.     Do you know what the standard industry

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1       practice is for engaging a placement agent in terms
2       of which entity the fund or fund manager or other
3       corporate affiliates typically engage a placement
4       agent?
5                            (Discussion off the record.)
6              A.     Typically, the fund itself is the
7       counterparty to the placement agent, however, the
8       investment investor is also a party that is on the
9       hook for the obligations and the expense
10      reimbursement and things like that.
11             Q.     And in this situation, the investment
12      advisor would be CPA; correct?
13             A.     Yes.
14             Q.     Do you agree or disagree with this
15      statement:      That Capitala as an enterprise used
16      Capitala Group, LLC, to make contractual promises
17      that a fund manager would usually make knowing that
18      Capitala Group with not keep those promises?
19             A.     I don't think it was made with the idea,
20      the intention that Capitala Group wouldn't keep any
21      of the promises, but if you rephrase it, I bet we
22      can get to a different answer.
23             Q.     How would you put it?
24             A.     I would put it that Capitala generally
25      intended to live up to the bargain whether it was

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1       an NDA, term sheet with a for flowed company or a
2       term sheet with a placement agent except that the
3       understanding was in the entire firm that if the --
4       as Joe would put it, if the sugar hit the fan and
5       there was ultimately a judgement or a liability,
6       the entity on the hook for that judgement or
7       liability would not be capitalized.
8              Q.     At the time Capitala entered into the
9       term sheet with NovaFund, was the entity Capitala
10      Group, LLC sufficiently capitalized in your opinion?
11             A.     No.
12             Q.     During any point in time during your
13      tenure do you believe that Capitala Group, LLC was
14      sufficiently capitalized?
15             A.     I don't.
16             Q.     Why do you say that?
17             A.     That was the commercial intent behind
18      Capitala Group, LLC.
19             Q.     Meaning it was set up specifically to be
20      under capitalized?
21             A.     Yes.
22             Q.     What was its business purpose while you
23      were there?
24             A.     To be the signatory for certain nuisance
25      agreements, if you will, in which the risk -- like

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1       a stooge, a useful idiot.
2              Q.     Did you call those nuisance agreements?
3              A.     I just did.        They weren't called that
4       there though.
5              Q.     Was Capitala Group, LLC considered to be
6       a parent company to any of the other Capitala
7       entities?
8              A.     No.
9              Q.     And the counterparty under the
10      investment advisory agreement with StepStone is CPA;
11      correct?
12             A.     Correct.
13             Q.     And CPA is also the fund manager to Fund
14      V; correct?
15             A.     Correct.
16             Q.     Did CPA have a board?
17             A.     No.    Oh, CPA?       No.      Until the time I
18      left at least, there was no board for CPA.
19             Q.     Did it have any committees?
20             A.     I don't think so, no.
21             Q.     CPA is owned 100 percent by CIA;
22      correct?
23             A.     Yes -- at least at --
24             Q.     Pardon?
25             A.     I said at least at the time of my

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1       would roll our eyes.
2               Q.    Did CTA have its own office?
3               A.    It wasn't distinct from CIA or anything
4       else.
5               Q.    So would you agree that CTA, Capitala
6       Group, LLC, and CIA all shared the same office
7       space?
8               A.    Yes.
9               Q.    Was that office space owned or leased?
10              A.    Leased.
11              Q.    Do you know what Capitala entity was on
12      the lease?
13              A.    I think it was Capitala Advisors Corp.
14      but I'm not sure.
15              Q.    Did other Capitala entities all share
16      the same office space?
17              A.    Yes.
18              Q.    Did Capitala Group have any employees of
19      its own?
20              A.    You mean LLC?
21              Q.    Correct.
22              A.    Not to my knowledge.
23              Q.    Did CPA have any employees of its own?
24              A.    Not to my knowledge.
25              Q.    CIA?

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1              A.     Not to my knowledge.
2              Q.     Do you agree that Capitala Group, LLC,
3       CIA and CPA all shared the same employees?
4              A.     Yes.    They shared the same professionals
5       to dispense the work of those firms.
6              Q.     Fund V had an investment committee;
7       correct?
8              A.     Yes.
9              Q.     The investment committee for Fund V
10      included Messrs. Alala, Broyhill, McGlinn, Norton,
11      Fontes, and then Richeson?
12             A.     That's right.
13             Q.     Did those individuals serve as the
14      investment committee for any other Capitala
15      investment vehicles?
16             A.     Yes.    They were the investment committee
17      for the StepStone SMA.
18             Q.     Did Capitala Group, LLC, CIA or CPA have
19      any of their own corporate records?
20             A.     Yes.    CIA and CPA had corporate records.
21             Q.     Did Capitala Group, LLC have its own
22      corporate records?
23             A.     Not to my knowledge.
24             Q.     Do you agree that Capitala Group, LLC,
25      CIA and CPA all shared the same compliance manual?

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                                                                   Page 231

1              A.      I don't think Capitala Group, LLC had a
2       compliance manual, but CIA and CPA did have a
3       compliance manual.
4              Q.      Did you draft that compliance manual?
5              A.      With help from outside counsel, yes.
6              Q.      Did Capitala Group, LLC ever provide any
7       financing to CPA?
8              A.      Not to my knowledge.
9              Q.      Did CPA ever provide financing to
10      Capitala Group, LLC?
11             A.      I'm not sure actually.               And I'm not sure
12      if it did that it would be privileged at this
13      point.      I'm a little confused.
14             Q.      How about -- let me ask you some
15      questions about bank accounts.                 Did Capitala Group,
16      LLC have its own bank account?
17             A.      I'm not aware of one.
18             Q.      Did CPA have its own bank account?
19             A.      I believe so.
20             Q.      Do you know if CIA had its own bank
21      account?
22             A.      Yes.
23             Q.      Were you aware of any transfers of funds
24      between Capitala Group, LLC on the one hand and CPA
25      or CIA on the other?

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                                                                 Page 233

1       litigation expense.
2              Q.     Involving this litigation?
3              A.     Yes.    Or its predecessor.
4              Q.     Was CPA run by Capitala Group, LLC?
5              A.     No.
6              Q.     Would you say that Capitala Group, LLC
7       was run by CPA?
8              A.     It was run by CPA's agents who were all
9       employed by Capitala Advisors Corp.                 But you know,
10      it's -- individuals entered into agreements on
11      behalf of Capitala Group, LLC in furtherance of
12      business of Capitala Advisors.
13             Q.     Do you think it is fair to say that
14      Capitala Group, LLC was a shell company that was run
15      by other Capitala affiliates?
16             A.     Yes.
17             Q.     And those affiliates would include CPA
18      and CIA?
19             A.     Including but not limited to.
20             Q.     What other ones do you think that
21      Capitala Group, LLC was run by?
22             A.     Capitala Advisors Corp. and section 16
23      officers of Capitala Finance Corp.
24             Q.     Would you say that Capitala Group, LLC
25      was under the dominion and control of another

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                                                                Page 234

1       Capitala entity?
2              A.     Yes.
3              Q.     Which one or ones?
4              A.     Capitala Advisors Corp., CIA and CPA.
5              Q.     I may have asked you this but let me
6       just ask it a different way.               Did Capitala Group,
7       LLC have an independent source of revenues?
8              A.     No.
9              Q.     Are you aware that the retainer --
10      you're aware that retainer payments were made to
11      NovaFund under the term sheet; correct?
12             A.     Yes.
13             Q.     Do you agree that those retainer
14      payments were made by CPA, not Capitala Group, LLC?
15             A.     Yes.
16             Q.     Do you think it's fair to say that
17      Capitala Group, LLC was supported by CPA, CIA and
18      other Capitala affiliates?
19             A.     Yes.
20             Q.     In your experience, did Capitala observe
21      corporate formalities for each of those affiliates?
22             A.     No.
23             Q.     Based on your experience, did one or
24      more Capitala entities function as a single
25      enterprise?

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                                                                   Page 235

1              A.     Yes.
2              Q.     Which ones?
3              A.     The more the better.
4              Q.     Would you say that Capitala Group, LLC
5       operated as part of an enterprise with other
6       Capitala entities?
7              A.     Yes.
8              Q.     Which ones?
9              A.     CIA, CPA, Capitala Advisors Corp.,
10      Capitala Finance Corp., Capital South SBIC Fund IV,
11      Capital South SBIC Fund III, and Capital South
12      Partners Fund II.
13             Q.     What about CSLC?
14             A.     Yes, and CSLC.          Sorry.        I told you it
15      was a bunch of them.
16             Q.     I think I am nearly done.                I may have a
17      couple of documents I want you to identify.
18                           MS. O'TOOLE:          Could we go off the
19             record for like five minutes and then come
20             back on?
21                           THE VIDEOGRAPHER:              Stand by.   We
22             are now off the record.             The time is 6:19 p.m.
23             for break.
24                      (Recess taken.)
25                           THE VIDEOGRAPHER:              We are now on

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1              Q.      Mr. Wheelahan, we're going to mark your
2       text messages as Plaintiff's Exhibit 29.
3                             (Plaintiff's Exhibit 29, text
4              messages, marked for identification, as of
5              this date.)
6              Q.      Let me know when that comes up.
7              A.      They're up.
8              Q.      This is in your paper materials behind
9       tab 41.
10                     Did you receive a subpoena in this
11      matter requesting copies of text messages that you
12      sent or received relating to this matter?
13             A.      Yes.
14             Q.      And responsive to the subpoena, did you
15      provide your cell phone to a vendor?
16             A.      I provided my cell phone number -- my
17      credentials to a vendor who accurately pulled my
18      text messages off of it.
19             Q.      Was it your understanding that the
20      vendor then extracted the text messages from your
21      phone?
22             A.      Yes.
23             Q.      Did you review your text messages after
24      they were extracted and before -- before they got
25      produced in this matter?

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1              A.      Yes.
2              Q.      Is it your understanding that
3       Plaintiff's Exhibit 29 is the complete set of text
4       messages that were extracted from your phone?
5              A.      Yes.
6              Q.      Did you keep those text messages in the
7       ordinary course of your work for Capitala as the
8       messages related to Fund V or the issues in this
9       lawsuit?
10             A.      Yes.
11             Q.      Let me just have you flip a couple of
12      pages and ask you some questions about some of
13      these.      If I could have you turn to page RW 0009.
14      There's a text from you that is -- has the timestamp
15      of April 7, 2017 at 8:27.             Do you see that?
16             A.      Yes.
17             Q.      It says, "The feeling is that the firm
18      exists as Joe's alter ego, it's all his."
19                     Do you see that?
20             A.      I do.
21             Q.      Is that a text that you sent?
22             A.      Yes.
23             Q.      You sent that to Mr. Swercheck?
24             A.      Yes.
25             Q.      What did you mean by that?

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1              A.     I think it was Louis XIII, his quote was
2       "I am the state."        There are no institutions, there
3       were no real -- institutions or entities at issue,
4       Joe was the state.
5              Q.     Was Mr. Alala the head of all the
6       entities that we were discussing before?
7              A.     Yes.    With the exception of Capitala
8       Finance Corp., he was the chairman and CEO but he
9       had a board.
10             Q.     During your tenure was he the head of
11      CIA?
12             A.     Yes.
13             Q.     CPA?
14             A.     Yes.
15             Q.     And Capitala Group, LLC?
16             A.     Yes.
17             Q.     On page RW 11 there's a text from you
18      with a timestamp of April 7, 2017, at 8:33.                 And you
19      said, "I know!       The way it is at a real business."
20      What did you mean by that?
21             A.     That the way Capitala operates is not
22      the way that a real credible institutional business
23      operates.
24             Q.     How so?
25             A.     Joe making unilateral, autonomous

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1       Beach.
2               Q.       In the text below he says, "He has
3       helped me bury a few bodies in the day."                Do you see
4       that?
5               A.       Yep.
6               Q.       What did you understand that to mean?
7               A.       All the nefarious shit that his trusts
8       do, he has enablers, his mother was one, Derek was
9       another one.
10              Q.       On page -- if you turn the page to RW
11      76.     The e-mail from Mr. Alala dated January 31,
12      2019 at 6:39 p.m.        In that text he says, "I have the
13      Japs wet."        Do you see that?
14              A.       Yep.
15              Q.       Was that a text from him to you?
16              A.       Yes.
17              Q.       What did you understand that text to
18      mean?
19              A.       He's analogizing Mitsui's interest in
20      getting a deal done to sexual arousal in a female.
21              Q.       I will leave that one alone.
22                       Let me have you turn to RW 203.           There's
23      only one text on this page dated June 23, 20/20 at
24      7:02.        Is this a text from him to you?
25              A.       Yes.

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1               Q.    He says, "We dissolved Capitala Group,
2       LLC so your deposition I just learned is postponed.
3       We are allowing a default judgement against that LLC
4       as that LLC has no assets.              Court denied adding
5       other party to the lawsuit so Nova receives what
6       they deserve.        I have hired Rob Wilder and replaced
7       RBH.     You know Rob.      Great litigator."
8                     Did I read that correctly?
9               A.    Yes.
10              Q.    What did you understand that text to
11      mean?
12              A.    I understood that text to mean that
13      notwithstanding the fact that his communications
14      were no longer privileged with me, he was
15      communicating his strategy, overall strategy of the
16      litigation which was to prosecute, prosecute,
17      prosecute until Nova ran out of energy and
18      fortitude and then have a dummy entity with no
19      assets -- have a NINJA, no income, no job, no
20      assets behind it holding the bag and then Nova goes
21      home sad.
22                    He was also, I think, trying to inform
23      me in such a way that I would lose whatever
24      motivation I had to cooperate with this deposition
25      notwithstanding the fact I had a judicially issued

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1       subpoena and I had an obligation to cooperate with
2       them.
3               Q.    Do you in fact know an attorney named
4       Rob Wilder?
5               A.    I know of him and I have been in
6       communication with him over e-mail for various
7       things before.
8               Q.    Are you familiar with Mr. Alala's view
9       of Mr. Wilder?
10              A.    Yes.
11              Q.    What was that?
12              A.    Bull in a china shop.                 Low EQ, high IQ,
13      a provocateur.       Just break glass, cause friction,
14      grind your opponent into submission type of
15      litigator.
16              Q.    Is he a litigator in North Carolina?
17              A.    He is.
18              Q.    Did you understand the reference to RBH
19      in that text message to be Robinson Bradshaw &
20      Hinson?
21              A.    Yes.
22              Q.    Let me see if we can --
23                           MS. O'TOOLE:          Robert, do you by any
24              chance have HL 1129 ready to go?
25              Q.    Mr. Wheelahan, did Capitala do anything

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1              okay?
2                             THE REPORTER:           Absolutely.
3                             MS. O'TOOLE:           That would be
4              terrific.
5                             THE REPORTER:           And somebody
6              mentioned a rough.           Do you still want that or
7              do you just want the final on Thursday?
8                             MS. O'TOOLE:           I think the final on
9              Thursday is fine.
10                  (Deposition concluded at 6:49 p.m.)
11                          (Signature reserved)
12
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1       STATE OF NORTH CAROLINA
2       WAKE COUNTY
3                           REPORTER'S CERTIFICATE
4                       I, Andrea L. Kingsley, a Notary Public
5       in and for the State of North Carolina, do hereby
6       certify that there came before me on Tuesday, the
7       August 4, 2020, the person hereinbefore named, who
8       was by me duly sworn via Virtual Zoom to testify to
9       the truth and nothing but the truth of his
10      knowledge concerning the matters in controversy in
11      this cause; that the witness was thereupon examined
12      under oath, the examination reduced to typewriting
13      under my direction, and the deposition is a true
14      record of the testimony given by the witness.
15                      I further certify that I am neither
16      attorney or counsel for, nor related to or employed
17      by, any attorney or counsel employed by the parties
18      hereto or financially interested in the action.
19                      IN WITNESS WHEREOF, I have hereto set
20      my hand this the 6th day of August, 2020.
21
22
                             <%21582,Signature%>
23
                         ____________________________________
24
                          Andrea L. Kingsley, Notary Public
25                        Notary Public #201903800023

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                                                    ERRATA SHEET


                        NOVAFUND ADVISORS, LLC V. CAPITALA GROUP, LLC

DEPOSITION OF: RICHARD G. WHEELAHAN, III                   DATE:      AUGUST 4, 2020


 Page #       Line #                   CHANGE                                        REASON

2                      Delete Esquire after Lisa B. Waller’s       Incorrect title
                       name

15        22           Start quote at “Capitala”                   Punctuation

15        23           Change “individual” to “individuals”        Transcription Error

15        23           Change “provide” to “provides”              Transcription Error

16        8            Change “, CPTA,” to (“CPTA”)                Punctuation

16        9            Comma after “company”                       Punctuation

16        22           Change “interest” to “interests”            Transcription Error

17        8            Change “middle market” to “middle-          Transcription Error
                       market”

17        19           Delete quotation marks “which is defined    Punctuation
                       as CIA”

                       Change “became general counsel, as well
18        6            as chief compliance officer, to Capitala”   Punctuation
                       to “became the general counsel as well as
                       chief compliance officer to Capitala”

18        20           Comma after “entities”                      Punctuation

19        11           Capitalize “P” in private”                  Capitalization

24        4            Change “LP.” to “L.P.”                      Punctuation

24        17           Change “investor” to “investors”            Transcription Error

24        20           Change “is” to “that is”                    Transcription Error
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Page #       Line #                    CHANGE                                       REASON

25       3            Change “as” to “if”                          Transcription Error

25       23           Begin quote at “Capitala”                    Punctuation

25       25           Change “%” to “percent”                      Punctuation

26       1            Capitalize “T” in target; “I” in investor;   Capitalization
                      “F” in fund

26       20           Quote is: “Should Capitala agree to a        Punctuation; Capitalization
                      lower management fee than 1.5% for any
                      Target Investor, NovaFund will earn a fee
                      equal to one year of the Company’s
                      management fee from the Target Investor
                      but in no case less than 1.0% of
                      committed capital for the Target
                      Investor(s)”

32       10           Change “Provided” to “provided”              Capitalization

32       11           Change “success fee” to “Success Fee”        Capitalization

32       13           Capitalize “F” in “fund”                     Capitalization

35       23           Quote is: “It is understood that no Fee      Capitalization, Punctuation
                      shall be payable with respect to
                      commitments by the Manager or General
                      Partner of the Fund or executives of
                      Capitala or any of their respective
                      officers, directors and employees and any
                      such officer’s, director’s or employee’s
                      immediate family members (and any
                      investment vehicles controlled by or
                      established primarily for the benefit of
                      any such officer, director, employee
                      and/or his or her immediate family
                      members), for its or their own accounts,”

38       18           Capitalize “F” in “fee”                      Capitalization

38       19           Change “commitment” to “commitments”         Transcription Error




                                                          2
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Page #       Line #                   CHANGE                                          REASON

38       22           Capitalize “S” in “schedule”; Capitalize       Capitalization
                      “C” in carve; “O” in “out”; “I” in
                      “investors”

38       23           Change “125,000,000 to “125 million”;          Transcription Error
                      Change “commitment” to “commitments”

40       23           Change “no” to “know”                          Transcription Error

44       23           Capitalize “T” in “tail” and “F” in “fee”      Capitalization

45       18           Capitalize “T” in “target”; “I” in             Capitalization
                      “investors” and “F” in “fund”

45       19           Change “Capitala sponsored” to                 Transcription Error
                      “Capitala-sponsored”

45       21           Change “commitment” to “commitments”           Transcription Error

46       12           Change “Next” to “next”;                       Capitalization and Transcription Error
                      Change “Capitala sponsored” to
                      “Capitala-sponsored”

47       2            Change “With to “with”                         Capitalization

49       13           Change “would” to “were”                       Transcription Error

51       9            Change “Australian church (phonetic)” to       Transcription Error
                      “Israeli insurance company”

52       4            Change “investment” to “investments”           Transcription Error

60       6            Change “CAP 00086206” to                       Transcription Error
                      “CAP_0086206”

64       22           Change “intent of support letter” to ‘intent   Punctuation
                      of support letter’”

64       23           Delete “take” after the word “are”             Transcription Error



                                                           3
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Page #       Line #                   CHANGE                                         REASON

65       24           Capitalize “C” in “capital”                   Capitalization

69       3            Capitalize “P” in “private”; “D” in “debt”;   Capitalization
                      “F” in “fund”

70       14; 19       Change “Board” to “board”                     Capitalization

71       14           Change “150 MM” to “150mm”                    Transcription Error

74       10           Change “Board” to “board”                     Capitalization

76       12           Change “300 million” to “300MM”; “350         Capitalization
                      million” to “350MM”

77       2            Change “300 million” to “$300 million”;       Transcription Error
                      “350 million” to “$350 million”

77       6            Change “2 hundred million” to $200            Transcription Error
                      million”

77       19           Change “LLC” to “LP”                          Transcription Error

77       20           Change “With” to “with”                       Capitalization

95       2            Change “1 Billion” to “$1.0 Billion”          Transcription Error

95       21           Change “$1 billion dollars” to “$1.0          Transcription Error
                      billion”

98       15           Change “1 billion” to “$1bn”                  Transcription Error

98       17           Comma before, “with”                          Punctuation

99       10; 14       Change “1 billion” to “$1bn”                  Transcription Error

121      11           Capitalize “I” in “investment; Capitalize     Capitalization
                      “A” in “advisor”

121      12           Change “LP” to “L.P.”                         Transcription Error



                                                        4
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Page #       Line #                   CHANGE                                      REASON

121      17           Parentheses before “referred” and after    Transcription Error
                      “CSLC”;
                      Quotes around “Capitala Specialty
                      Lending Corp. or CSLC”

121      19; 20       Change “middle market” to “middle-         Transcription Error
                      market”

142      15           Change “Principal” to “Principle”          Transcription Error

151      14           Capitalize “F” in “fund”                   Capitalization

151      15           Change “150 million a year” to “$150MM     Transcription Error
                      per year”

151      16           Change “600 million” to “$600MM”           Transcription Error

153      3            Quote: “In our calculations the targeted   Transcription Error
                      amount over three years amounts to
                      $600m (out which $450m and $150m
                      relates to the Treaty and Offshore
                      Platform, respectively)”

162      3            Change “NC” to “entities”                  Transcription Error

170      19           Change “ADD” to “ADV”                      Transcription Error

170      20           Change “ADD” to “ADV”                      Transcription Error

171      11           Change “ADDs” to “ADVs”                    Transcription Error

171      16           Change “Kemper 00008” to                   Transcription Error
                      “Kemper000008”

172      19           Change “Kemper 00008” to                   Transcription Error
                      Kemper000008”

173      6            Capitalize “A” in “advisors”               Capitalization

173      8            Change “CTCF” to “CPCF”                    Transcription Error


                                                          5
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  Page #       Line #                   CHANGE                                 REASON

 186       25           Change “in” to “and”                  Transcription Error

 187       2            Change “funding” to “launching”       Transcription Error

 188       24           Change “so some” to “some”            Transcription Error

 189       5            Change “effort” to “efforts”          Transcription Error

 198       17           Change “ADD” to “ADV”                 Transcription Error

 209       20           Change “Brian” to “Bryan”             Transcription Error

 210       8            Change “Brian” to “Bryan”             Transcription Error

 210       13           Change “Brian” to “Bryan”             Transcription Error

 213       4            Change “agreed” to “agree”            Transcription Error

 217       3            Change “again” and “against”          Transcription Error

 223       18           Change “with” to “would”              Transcription Error

 224       1            Change “for flowed” to “portfolio”    Transcription Error

 227       17           Change “trust” to “Trust”             Capitalization

 229       2            Change “CTA” to “CPA”                 Transcription Error

 229       5            Change “CTA” to “CPA”                 Transcription Error

 246       23           Change “20/20” to “2020”              Transcription Error




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